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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

     FAULK COMPANY, INC.,

          Plaintiff,

     v.                                                  No. 4:24-cv-00609-P

     XAVIER BECERRA, ET AL.,

          Defendant.
                             FINAL JUDGMENT
          This final judgment is issued pursuant to Federal Rule of Civil
     Procedure 58(a). In accordance with the Court’s Opinion & Order (ECF
     No. 38), this case is DISMISSED with prejudice. The Clerk of the
     Court shall transmit a true copy of this judgment to the Parties.

          As stated in Federal Rule of Civil Procedure 54, Plaintiff’s
     application for attorney’s fees must be filed within fourteen days of the
     entry of this judgment. FED. R. CIV. P. 54(d)(2)(B)(i). Accordingly, the
     Court ORDERS that Plaintiff file any application for attorney’s fees on
     or before May 7, 2025; any response by Defendants shall be filed on
     or before May 21, 2025; and any reply by Plaintiff shall be filed on or
     before May 28, 2025.

          SO ORDERED on this 23rd day of April 2025.




                                MARK T. PITTMAN
                                UNITED STATES DISTRICT JUDGE
